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                              UNITED STATES DISTRICT COURT
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                             EASTERN DISTRICT OF CALIFORNIA
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11   SACRAMENTO COUNTY EMPLOYEES’            Case No.: 2:24-cv-01431-JAM-DB
     RETIREMENT SYSTEM,
12                                           ORDER RE MOTION TO DISMISS
                Plaintiff,                   BRIEFING DEADLINES (ECF No. 15)
13
          vs.
14
     TELUS HEALTH (US) LTD., a Delaware
15   corporation,                            Complaint Filed April 19, 2024
16              Defendants.
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                                          ORDER
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 1                                                ORDER
 2          Plaintiff Sacramento County Employees’ Retirement System (“SCERS”) and Defendant
 3   Telus Health (US) Ltd. (“Telus”) have reached a stipulation concerning briefing deadlines
 4   associated with Telus’s Motion to Dismiss (the “Motion”) filed on June 25, 2024 and noticed for
 5   hearing on August 20, 2024. In light of this stipulation, the Court orders as follows:
 6          1.      Notwithstanding Local Rule 230, SCERS’s opposition brief to the Motion shall
 7   be due on July 26, 2024.
 8          2.      Notwithstanding Local Rule 230, Telus’s reply brief in support of the Motion
 9   shall be due on August 06, 2024.
10           IT IS SO ORDERED.
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12          Date: June 27, 2024
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                                                   ORDER
